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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                         :
                                                 :
                   V.                            :          CRIMINAL NO. PJM-09-588
                                                 :
                                                 :
LAMONT LUTHER JOHNSON                            :

                                            ...oooOooo...


                                             LINE

Madam Clerk:

       Please enter the appearance of Jennifer R. Sykes as counsel for the government for all

purposes in the above-captioned case, and withdraw the appearance of Leah Bressack as counsel

for the government, and remove from any future CM/ECF notifications.



                                            Respectfully submitted,

                                            Stephen M. Schenning
                                            Acting United States Attorney



                                      By:           /s/
                                            Jennifer R. Sykes
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